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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NEW YORK

JACQUELINE BEEBE, individually and on
behalf of all others similarly situated,
                                           Case No. 6:17-cv-06075-EAW-MWP
                          Plaintiff,

v.                                         Class / Collective Action

V&J NATIONAL ENTERPRISES, LLC,
V&J UNITED ENTERPRISES, LLC, V&J
EMPLOYMENT SERVICES, INC., and
V&J HOLDING COMPANIES, INC.,

                          Defendants.



                    MEMORANDUM OF LAW IN SUPPORT
                 OF PLAINTIFF’S UNOPPOSED MOTION FOR
           PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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I.       INTRODUCTION

         Pursuant to Federal Rule of Civil Procedure 23, Plaintiff Jacqueline Beebe (“Plaintiff” or

“Class Representative”), on behalf of a putative settlement class, respectfully requests that this

Court preliminarily approve the instant settlement with Defendants V&J National Enterprises,

LLC, V&J United Enterprises, LLC, V&J Employment Services, Inc., and V&J Holding

Companies, Inc. (collectively “Defendants” or “V&J”) (collectively, with Plaintiff, the

“Parties”). Subject to Court approval, the Parties have settled Plaintiffs’ claims on a class-wide

basis for up to $2,350,000.00. This settlement easily satisfies all of the criteria for preliminary

approval under Rule 23 of the Federal Rules of Civil Procedure, as well as the criteria for

approval under the Fair Labor Standards Act (“FLSA”).

         With this motion, Plaintiffs respectfully request that the Court: (1) grant preliminary

approval of the Settlement Agreement, attached as Exhibit A to the Declaration of Jeremiah Frei-

Pearson in Support of Plaintiffs’ Motion for Preliminary Approval of Settlement (“Frei-Pearson

Decl.”); (2) approve the proposed Notice of Class Action Settlement (“Class Notice”), Reminder

Notice, and Claim Form, attached as Exhibits B, C, and D to the Frei-Pearson Decl.; and (3)

approve the proposed schedule for final settlement approval, as outlined herein.

II.      RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

         A.     Factual Allegations

         Pursuant to the operative Complaint (ECF No. 1), Plaintiff is a member of a putative

collective action under the FLSA, as well as a putative Rule 23 class, comprised of all delivery

drivers Defendant has employed for any length of time since June 21, 2010 (“Class” or “Settlement

Class”). Including Plaintiff, there are well over 300 individuals in the putative Class. See Frei-

Pearson Decl. at ¶ 3.



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        Plaintiff alleges that Defendants systematically and unlawfully paid their delivery drivers,

including Plaintiff, wages below the minimum in violation of the New York Labor Law (“NYLL”)

and FLSA. Plaintiff alleges that Defendants paid their delivery drivers an initial wage equal or

near to the minimum and were, therefore, required by law to fully reimburse their delivery drivers

for all vehicular expenses incidental to delivery so as to keep their real wages at or above the

minimum. She alleges that Defendants violated the NYLL and FLSA by causing her and other

delivery drivers to incur significant vehicular expenses during the course of their work for

Defendants, and under-reimbursing them for those expenses, thereby reducing their wages below

the minimum. As such, Plaintiff alleges that, under the NYLL and FLSA, Defendants are liable

for the difference between the driver’s true expenses and the reimbursement rate Defendants

actually paid, plus liquidated damages. Defendants deny these allegations, and further deny that

class or collective action certification is appropriate.

        B.      Procedural History And Settlement Negotiations

                1.      Litigation Of These Claims Began With The Related Spano Matter.

        On June 21, 2016, Plaintiff Daniel Spano filed suit on behalf of himself and all other

delivery drivers employed by V&J during the maximum statutory period (six years under the

NYLL, for a class period beginning June 21, 2010), alleging violations of the FLSA and

NYLL. Spano v. V&J National Enterprises, LLC, No. 16-6419, ECF No. 1 (W.D.N.Y. June 21,

2016). On August 25, 2016, V&J submitted an Answer and Counterclaim, producing an

arbitration agreement allegedly executed by Mr. Spano and seeking declaratory relief that Mr.

Spano’s claims would have to be heard in arbitration. Id. at ECF No. 10.

        Mr. Spano honored the arbitration agreement and filed an arbitration claim with the

American Arbitration Association (“AAA”) on December 30, 2016. V&J initially declined to pay

the initial arbitration fee, the AAA administratively closed the matter on April 7, 2017, and Mr.

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Spano informed the Court of the breakdown in the arbitration proceedings. See id. at ECF No. 41.

On August 14, 2017, after substantial briefing and numerous cross-motions, the Court held that

V&J had breached its arbitration agreement and could not compel arbitration against Mr.

Spano. Id. at ECF No. 54. This decision also held that the arbitration agreement’s waiver of the

right to proceed in a class or collective action may still be enforceable, and stayed the case pending

the Supreme Court’s decision on the enforceability of class/collective waivers in arbitration

agreements. Id. Mr. Spano submitted a motion for reconsideration of this finding on September

27, 2017. Id. at ECF No. 57. V&J gave notice on September 28, 2017 that they were appealing

the part of the decision that denied the Defendant’s motion to compel individual arbitration and

stay the pending action. Id. at ECF No. 58.

       The Parties had a mediation before the Second Circuit. Frei-Pearson Decl. ¶ 4. However

the parties were unable to reach a settlement. Id. On January 23, 2018 V&J’s attorneys

successfully moved to withdraw as counsel for V&J. Spano at ECF No. 63. On March 23, 2018

a notice of appearance was filed on behalf of all defendants for new counsel. Id. at ECF No. 75.

       With the addition of new counsel, the Parties were able to agree to settle Mr. Spano’s claim.

Frei-Pearson Decl. ¶ 5. Although Plaintiff’s counsel learned that the data V&J provided in

connection with damage calculations for Mr. Spano’s settlement was inaccurate, Mr. Spano chose

to go forward with the settlement and Judge Wolford approved the settlement. Spano at ECF No.

86.

               2.      Plaintiff Initiated The Instant Matter
                       And Conditionally Certified A Collective.

       Because of V&J’s initial arbitration defense, Plaintiff Beebe -- seeking to diligently pursue

her claims and the claims of her fellow V&J delivery drivers -- filed this related action on February




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2, 2017, bringing the same allegations on behalf of the same putative class and collective. ECF

No. 1. V&J submitted its answer on March 10, 2017. ECF No. 15.

        Plaintiff promptly moved for conditional certification of the FLSA collective on March 7,

2017. ECF No. 8. After full briefing on the motion, argued extensively by both sides, the Court

conditionally certified the FLSA collective after oral argument on June 14, 2017 (ECF No. 44)

and approved the notice to be sent to putative collective members on June 22, 2017. ECF No. 46.

After two additional Orders were entered by the Court on July 19 (ECF No. 53) and August 3,

2017 (ECF No. 55), V&J produced a complete list of putative FLSA collective members, allowing

notice to be sent.1

        On June 12, 2017, V&J moved for a judgment on the pleadings seeking to dismiss claims

against three of the named Defendants and strike class and collective action allegations from the

complaint. ECF No. 38. Plaintiff opposed this motion, and after oral argument on February 16,

2018, the Court denied Defendants’ motion without prejudice, allowing Plaintiff to proceed with

discovery and move for class certification. ECF No. 139.

                3.     V&J Sought To Directly Settle Drivers’ NYLL Claims And
                       Plaintiff Sought And Received A Temporary Restraining Order.

        Defendants sold or closed all of their remaining Pizza Hut franchise locations on or about

September 16, 2017. Frei-Pearson Decl. ¶ 6. While in the process of ending their ownership of

these stores, Defendants initiated a campaign to separately settle delivery drivers’ minimum wage

claims. Id. at ¶ 7. All delivery drivers were told that they had to attend individual meetings with

V&J executives, including David Boose, the overall head of V&J’s Pizza Hut operations, or


1
  Due to the delay in obtaining the collective list, Plaintiff moved for equitable tolling on August
23, 2017. ECF No. 62. After oral argument, the Court determined this motion was premature,
though potentially meritorious, and denied it without prejudice so that Plaintiff could refile if
necessary. ECF No. 139.

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Wendy Garagozzo, the head of V&J’s Human Resources. Id. V&J’s general counsel, Calvin

Scott, was also present at these meetings. Id. At these meetings, the drivers were presented with

a waiver form by these executives, and told they would receive an additional payment on their

paycheck if they signed the waiver. Id. at ¶ 8. The drivers were not invited to bring counsel to

these meetings, were not informed of this pending action, and were not told the estimated value of

their potential claims. Id. at ¶ 9.

        After learning of these efforts to obtain waivers from putative class and collective members

without the participation of Plaintiffs’ Counsel (or any counsel representing the drivers), Plaintiff

moved for a protective order, preliminary injunction, temporary restraining order, and sanctions

as a form of relief. ECF No. 81. On October 4, 2017, Judge Wolford temporarily enjoined

Defendants from retaliating against the members of the class for participating in the suit. ECF No.

84. Judge Wolford also ordered Defendants to comply with all disclosures required by the order

and respond to this motion by October 20, 2017. Id. On October 13, 2017, Plaintiff requested

additional time to amend the pleadings and join additional parties. ECF No. 89. On October 16,

2017, Plaintiff filed a memo in support of the motion for equitable tolling. ECF No. 90. On

October 20, 2017, V&J filed a response in opposition to Plaintiff’s emergency motion for

sanctions. ECF No. 94. A hearing on the motion for sanctions was held on November 6, 2017.

ECF No. 100. After negotiations between the Parties, Plaintiff stipulated to withdrawing her

emergency motion for preliminary injunction and sanctions, which Judge Wolford so-ordered on

November 9, 2017. ECF No. 102. The Parties stipulated to sending a revised notice to the drivers

who had attended these waiver meetings, informing them of their continuing right to participate in

the collective action and extending the time for the drivers to opt-in to the collective action. Id.




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       On January 12, 2018, following the briefings and orders related to V&J’s attempts to settle

drivers’ claims directly and in the midst of the motions for judgment on the pleading and for

equitable tolling, described supra, V&J moved for their then-current counsel to withdraw. ECF

No. 121. Judge Payson granted this motion on February 23, 2018 (ECF No. 148), and Defendants

changed their representation, securing new counsel as of March 2018. ECF Nos. 153-154.

               4.     The Parties Engaged In Extensive
                      Discovery, Including Motion Practice.

       On March 23, 2017, immediately after the Parties conducted their Rule 26(f) conference,

Plaintiff served initial discovery demands to each Defendant, including interrogatories and

requests for production of documents. Frei-Pearson Decl. ¶ 10. On June 9, 2017, Plaintiff served

her second set of requests for production of documents on each Defendant. Id. On October 2,

2017, Plaintiff served her third requests for production of documents. Id. Defendants began

producing documents responsive to these requests on October 16, 2017, with additional

productions on November 13, 2017 and December 14, 2017. Id. at ¶ 12. The Parties conferred

extensively via phone calls, emails, and letters concerning the sufficiency of Defendants’

production from November 2017 into June 2018.2 Id. at ¶ 11. Seeking to identify the scope of the

documents in Defendants’ possession, Plaintiff included topics related to such documents and their

retention as part of a person-most-knowledgeable deposition of the V&J entities, which was held

on August 1, 2018. Id. at ¶ 13.

       Of particular concern to Plaintiff was data that was not produced on V&J’s deliveries that

would have been entered and stored in Pizza Hut’s “SUS” point-of-sale system in the regular

course of business. Id. at ¶ 11. When these documents and data were not produced after numerous


2
 Conferrals over discovery were delayed as V&J changed attorneys in early 2018, as described
supra § II-B-3.

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meet and confer exchanges, Plaintiff moved to compel and for sanctions. ECF No. 157. V&J

cross-moved for a protective order on July 30, 2018. ECF No. 160. On August 23, 2018, the

Court granted in part and denied in part Plaintiff’s motion to compel and for sanctions and denied

Defendants’ cross-motion for a protective order, instructing Defendants to obtain the relevant SUS

data from Pizza Hut. ECF No. 169.

       V&J first produced class-wide SUS data on February 6, 2019. Frei-Pearson Decl. ¶ 12.

However, Plaintiff’s counsel -- who has litigated similar claims against Pizza Hut corporate and

Pizza Hut franchisees in the past -- was concerned that the data appeared incomplete and in a

format inconsistent with records as they are kept on the SUS system. Id. Following further meet

and confer efforts regarding this data, Plaintiff agreed to move forward with a previously-

scheduled mediation, described more fully infra at § II-B-6, based on the data V&J provided, but

also subpoenaed the relevant SUS data directly from Pizza Hut corporate. Frei-Pearson Decl. ¶

14. In response to Plaintiff’s subpoena, Pizza Hut corporate ultimately provided data to Plaintiff

that included all the information fields from the SUS system which also reflected significant

additional deliveries beyond the data that V&J provided. Id. at ¶ 15. Plaintiff issued deposition

notices for V&J and its counsel concerning this discrepancy. Id. at ¶ 16.

       Plaintiff also conducted several depositions and noticed others. Id.

               5.     Forty-Nine Additional Drivers Filed
                      Arbitration Demands With The AAA.

       In response to V&J’s position that many of the delivery drivers are subject to binding

arbitration agreements, 49 opt-in plaintiffs filed arbitrations for their claims against V&J before

the AAA, at a non-refundable cost of $300 in fees each, as Mr. Spano had done before.3 Id. at ¶


3
 Plaintiff’s counsel agreed to stop filing any more these individual arbitrations at V&J’s request
pending mediation.

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17. As with Mr. Spano’s arbitration, V&J declined to pay its portion of the initial arbitration fees

for each of these matters. Id. at ¶ 18. As such, the AAA administratively closed all 49 arbitrations

and stated that it would no longer arbitrate actions for V&J. Id.

               6.      The Parties Reached Settlement Following Multiple
                       Rounds Of Arms-Length Negotiations, Culminating With
                       The Assistance Of Magistrate Judge Payson As A Mediator.

       Throughout the course of this litigation, the Parties engaged in multiple arms-length

settlement negotiations and mediations, attempting to resolve the matter. In addition to direct

settlement negotiations to resolve the Spano matter, which ultimately included mediation before

the Second Circuit as part of V&J’s appeal in that case, the Parties engaged the services of

Mediator Patrick Solomon on two separate occasions. The Parties first mediated before Mediator

Solomon on October 2, 2017, but were unable to reach an agreement on settlement. Id. at ¶ 19.

The Parties also agreed to mediate before Hesha Abrams and Hunter Hughes, but V&J ultimately

declined to participate in those mediations. Id. at 20. On February 27, 2019, the Parties engaged

in an all-day mediation, again before Mediator Solomon. Id. At this second mediation, the Parties

reached an agreement on the general structure of a settlement, but were unable to agree on an

overall dollar amount. Id. at ¶ 21.

       Due to the discrepancy between the SUS data V&J provided on February 6, 2019, and the

more complete data subsequently produced by Pizza Hut corporate, the Parties were unable to

reach a mutually agreeable settlement following the mediation before Mediator Solomon. Id. at ¶

22. As such, the Parties requested the assistance of the Court, asking that Hon. Magistrate Judge

Payson serve as a mediator for an additional mediation session. See ECF No. 188. With Judge

Payson’s assistance, the Parties engaged in a mediation session on July 30, 2019. Id. At this third

and final mediation, the Parties successfully reached an agreement in principle on the terms of the

Settlement and executed a Memorandum of Understanding to that effect. Id. at ¶ 23. The Parties
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subsequently negotiated and drafted the terms of the Settlement Agreement and fully executed the

same on October 28, 2019. Id. at ¶ 25.

III.      SUMMARY OF THE SETTLEMENT TERMS

          A.     The Settlement Fund

          Defendants have agreed to create a settlement fund of up to $2,350,000.00 (“Maximum

Settlement Amount”). Frei-Pearson Decl., Exhibit A, ¶ 14. The fund will cover settlement

payments to Authorized Claimants,4 Court-approved attorneys’ fees and costs in an amount not to

exceed one-third (1/3) of the Maximum Settlement Amount,5 Court-approved service payments to

the Class Representative in an amount not to exceed $15,000.00,6 and the reasonable costs of

settlement administration. Id., ¶ 38.7

          B.     Release

          Rule 23 settlement class members who do not opt out of the settlement will be deemed to

have agreed to, and will be bound by, the following release of claims upon the Effective Date of

the Settlement (as those terms are defined in the Settlement Agreement).

          All members of the Settlement Class will release and forever discharge Defendants from

any and all claims, rights, demands, liabilities and causes of action of every nature and description,

whether known or unknown, arising on or before the date of Preliminary Approval, arising out of,



4
 “Authorized Claimant” means a Participating Class Member who has returned a valid and timely
Claim Form. Frei-Pearson Decl., Exhibit A, ¶ 2.
5
    Id., ¶ 36.
6
    Id., ¶ 37.
7
 To the extent Rule 23 class members elect to opt-out of the settlement or do not to submit a claim,
amounts allocated to such class members shall revert back to Defendant. Id., ¶ 39(d).




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based on, or encompassed by: (a) the claims that were or could have been asserted in any civil

complaint filed in this case or in any arbitration filed on behalf of any Settlement Class Member;

(b) relate to or arise out of the reimbursement of expenses, under-reimbursement of expenses,

failure to reimburse for transportation expenses, or failure to reimburse expenses of any kind; (c)

relate to or arise out of the payment of the applicable minimum wage, under-payment of the

applicable minimum wage, or failure to pay the applicable minimum wage; and (d) that arise under

the NYLL and any similar federal, state, municipal or local laws. Without limiting the generality

of the foregoing, the claim preclusion effect of this Settlement, and the judgment thereon, for res

judicata purposes shall be co-extensive with the release. Id., ¶ 51.

        The Class Representative releases Defendants from all claims, demands, rights, liabilities

and causes of action of every nature and description whatsoever, known or unknown, asserted or

that might have been asserted, whether in tort, contract, or for violation of any local, state or federal

statute, rule, regulation, ordinance or common law arising out of, relating to, or in connection with

any act or omission by or on the part of any of the Released Parties committed or omitted prior to

the execution hereof. Id., ¶ 52(a).        This Release includes any unknown claims the Class

Representative does not know or suspect to exist in their favor at the time of the General Release,

which, if known by her, might have affected her settlement with, and release of, the Released

Parties. Id., ¶ 52(b).

        C.      Class Members

        The Rule 23 class consists of over 300 delivery drivers Defendants have employed for any

length of time since June 21, 2010. Frei-Pearson Decl. ¶ 3. Defendants shall identify the Class

Members based on their payroll and/or other business records as of September 16, 2017. Frei-

Pearson Decl. Exhibit A, ¶ 42(a). Defendants did not employ any Pizza Hut delivery drivers after

September 16, 2017. Id.
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       D.      Allocation Formula And Payment Distribution

       Participating Rule 23 class members will be paid pursuant to an allocation formula based

on the length of their employment with Defendant. Id., ¶ 39(b). For each Settlement Class

Member, the total number of his or her workweeks working for Defendant between June 21, 2010

and September 16, 2017 shall be divided by the aggregate of all workweeks among all Settlement

Class Members and multiplied by the Net Settlement Amount to determine the amount owed that

individual, less any amount received by drivers to waive their NYLL claim and any settlement

payments that Defendants can document made for NYLL allegations. Id.

       The settlement payments will be made across three checks, distributed over the next three

years. Id., ¶ 39(h)-(j). Within 15 calendar days after the Effective Date, Defendants shall deposit

into the Qualified Settlement Fund an amount including 40% of the Individual Settlement

Payments based on Settlement Class Members who have submitted valid Claims Forms. Id., ¶

35(a). Within five days of this deposit, the Settlement Administrator shall mail checks for the

Individual Settlement Payments equal to 40% of the total Settlement Payment to the Authorized

Claimants. Id., ¶ 39(h). Within 380 calendar days after the Effective Date (365 days after the first

deposit), Defendants shall deposit the next 30% of the Individual Settlement Payments to be paid

to Authorized Claimants. Id., ¶ 35(b). Within five days thereafter, the Settlement Administrator

shall mail the next round of checks for Individual Settlement Payments equal to 30% of the total

Settlement Payment to the Authorized Claimants. Id., ¶ 39(i). This process will be repeated for

the final 30% of the total Settlement Payment to the Authorized Claimants 365 days after the

second payment. Id., ¶¶ 35(c), 39(j).

       E.      Attorneys’ Fees And Litigation Costs

       Plaintiff’s Counsel may apply for up to one-third of the Maximum Settlement Amount for

attorneys’ fees for work already performed and remaining to be performed in the Action and costs

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and expenses incurred in prosecuting the Action and implementing the terms of the Settlement

Agreement.8 Id., ¶ 36. The Court need not decide the matter now in connection with the Rule 23

Class settlement; Plaintiff’s Counsel will file a formal motion for approval of fees and costs in

connection with their motion for final approval of the settlement. See Fed. R. Civ. P. 23(h) &

54(d)(2). The Settlement Agreement is not conditioned on the award of attorneys’ fees and costs

in any amount. Frei-Pearson Decl. Exhibit A, ¶ 36.

       F.      Service Payment To Class Representative

       In addition to her individual awards under the allocation formula, Plaintiff, who actively

participated in the litigation -- including turning down an offered payment of $6,863.45 tendered

by Defendants on March 10, 2017 in an attempt to moot her individual claim (see ECF No. 38-6,

Exhibit 8) -- will apply for a Service Payment in an amount not to exceed $15,000.00 from the

Maximum Settlement Amount, in recognition of services rendered on behalf of the class. Frei-

Pearson Decl. Exhibit A, ¶ 37. Defendants agree not to oppose such application.

       “Service awards are common in class action cases and serve to compensate plaintiffs for

the time and effort expended in assisting the prosecution of the litigation, the risks incurred by

becoming and continuing as a litigant, and any other burdens sustained by the plaintiffs. It is



8
  This is within the range of a typical fee award in a common fund case. See, e.g., Frank v.
Eastman Kodak Co., 228 F.R.D. 174, 188 (W.D.N.Y. 2005) (“The trend in the Second Circuit
‘is toward the percentage method, . . . which directly aligns the interests of the class and its
counsel and provides a powerful incentive for the efficient prosecution and early resolution of
the litigation.’”) (quoting Wal–Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d at 121); Willix v.
Healthfirst, Inc., 2011 WL 754862, at *7 (E.D.N.Y. Feb. 18, 2011) (“Class Counsel’s request for
33 1/3% of the fund is reasonable and ‘consistent with the norms of class litigation . . .’”) (quoting
Gilliam v. Addicts Rehab. Ctr. Fund, No. 05 Civ. 3452, 2008 WL 782596, at *5 (S.D.N.Y. Mar.
24, 2008)). Moreover, here, as Plaintiffs’ counsel intends to show in their formal motion for
approval of fees and costs, Plaintiffs’ counsel invested very significant resources and achieved an
extraordinary result – which militates strongly in favor of awarding the full amount of fees and
costs sought.

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important to compensate plaintiffs for the time they spend and the risks they take.” Viafara v.

MCIZ Corp., No. 12 7452, 2014 WL 1777438, at *16 (S.D.N.Y. May 1, 2014); see also, e.g., Elliot

v. Leatherstocking Corp., No. 10-0934, 2012 WL 6024572, at *7 (N.D.N.Y. Dec. 4, 2012)

(“Service awards are common in class action cases and are important to compensate a plaintiff for

the time and effort expended in assisting in the prosecution of the litigation.”).

       As with the award of attorneys’ fees and costs, any reduction in the award of Service

Payments to the Class Representative shall not be a basis for rendering the Settlement Agreement

voidable or unenforceable. Frei-Pearson Decl. Exhibit A, ¶ 37. Plaintiff will file a motion for

approval of the Service Payments along with her motion for final approval of the settlement.

IV.    ARGUMENT

       A.      Class Action Settlement Procedure

       The well-established procedure for settlement approval in class action settlements

includes three distinct steps:

        1.      Preliminary approval of the proposed settlement after submission to the Court of a
                written motion for preliminary approval;

        2.      Dissemination of mailed and/or published notice of settlement to all affected class
                members; and

        3.      A final settlement approval hearing at which class members may be heard
                regarding the settlement, and at which argument concerning the fairness,
                adequacy, and reasonableness of the settlement may be presented.

See Fed. R. Civ. P. 23(e); see also Herbert B. Newberg & Alba Conte, Newberg on Class Actions

(“Newberg”) §§ 11.22 et seq. (4th ed. 2002); Willix, 2011 WL 754862, at *1-2; Khait v. Whirlpool

Corp., No. 06-6381, 2010 WL 2025106, at *1 (E.D.N.Y. Jan. 20, 2010).

       This process safeguards class members’ procedural due process rights and enables the

Court to fulfill its role as the guardian of class interests. With this motion, Plaintiff requests that

the Court take the first step -- granting preliminary approval of the Settlement Agreement, and

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approving the proposed Notice and authorizing the claims administrator to send it. The Parties

respectfully submit for the Court’s approval the following schedule for final resolution of this

matter:

          1.   Within twenty-one (21) calendar days of the Court’s grant of
               preliminary approval, Defendant will provide to the Settlement
               Administrator the names, last known addresses, last known telephone
               numbers, and social security numbers of the Settlement Class Members,
               along with data indicating the number of work weeks for each
               Settlement Class Member between June 21, 2010 and September 16,
               2017 (“Class Data List”). Frei-Pearson Decl., Exhibit A, ¶ 42(a).9

          2.   Within ten (10) calendar days after receipt of the Class Data List, to the
               extent practicable, the Settlement Administrator will consider any
               address updates provided by Class Counsel, perform reasonably diligent
               skip tracing, consult the National Change of Address Registry, and mail
               to all Settlement Class Members, by first-class U.S. mail, the Notice and
               Claim Form, and a pre-addressed, postage-paid return envelope
               (collectively, “the Notice Packet”). Id., ¶ 42(b).

          3.   Within sixty (60) calendar days after the Settlement Administrator’s
               initial mailing of the Notice Packets (“Claims Period Deadline”),
               Settlement Class Members who wish to receive a settlement payment
               shall return their Claim Forms to the Settlement Administrator. Claim
               Forms may be submitted to the Settlement Administrator by U.S. mail
               postmarked on or before the Claims Period Deadline, by fax or by email
               on or before the Claims Period Deadline, or entered online through the
               Settlement Administrator’s website on or before the Claims Period
               Deadline. Id., ¶ 43(a).

          4.   Settlement Class Members who wish to object to the Settlement and/or
               Class Counsel’s request for attorneys’ fees and expenses, must not
               exclude themselves from the Settlement and must file with the Court and
               serve on the Parties’ counsel, not later than thirty (30) calendar days after
               the date that the Settlement Administrator first mails the Notice Packets
               (“Objection Deadline”), a written statement objecting to the Settlement
               and setting forth the grounds for the objection, as explained further in the
               Notice. Id., ¶ 45.

          5.   Settlement Class Members who wish to exclude themselves from the
               Settlement (opt out of the Settlement) must submit to the Settlement

9
 The data shall be based on Defendant’s payroll and/or other business records. Frei-Pearson Decl.,
Exhibit A, ¶ 42(a).

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              Administrator, by U.S. mail, fax and/or email, not later than thirty (30)
              calendar days after the date that the Settlement Administrator first mails
              the Notice Packets (“Opt-Out Deadline”), an Exclusion Letter requesting
              that he or she be excluded from the Settlement Class. Id., ¶ 46(a).

       6.     If a Settlement Class Member submits a timely Claim Form that is
              rejected by the Settlement Administrator as deficient in some material
              respect (for example, the Settlement Class Member failed to sign the
              Claim Form), the Settlement Administrator will notify the Settlement
              Class Member in writing of the basis for the deficiency and give the
              Settlement Class Member a reasonable opportunity to cure the
              deficiency. Id., ¶ 43(b). Settlement Class Members shall have the
              greater of forty-five (45) calendar days after notification of the
              deficiency, or until the Claims Period Deadline, to cure the deficiency.
              Id.

       7.     Thirty (30) calendar days prior to the deadline to submit Claim Forms,
              the Settlement Administrator will send a postcard reminder notice to all
              Settlement Class Members who have not yet submitted Claim Forms.
              Id., ¶ 43(c).

       8.     A final fairness hearing will be held as soon as is convenient for the Court
              following the Claim Period Deadline.

       9.     Not later than fourteen (14) calendar days prior to the Final Approval
              Hearing, Plaintiffs will file a Motion for Final Settlement Approval and
              a memo in support of the motion. Id., ¶ 47(a).

       10.    After the fairness hearing, if the Court grants Plaintiffs’ Motion for Final
              Settlement Approval, the Court will issue a Final Order and Judgment.
              If no party appeals the Court’s Final Order and Judgment, the “Effective
              Date” of the settlement will be the day after the applicable date for
              seeking appellate review of the Court’s final approval of the Settlement
              has passed without a timely appeal. Id., ¶¶ 10, 12.

       11.    If an individual or party appeals the Court’s Final Order and Judgment,
              the “Effective Date” of Settlement shall be the day after all appeals are
              finally resolved in favor of final approval and the time for any further
              appeal has expired. Id.

       B.     The Standards For Approval Of A Class Action Settlement

       Compromise and settlement of class actions suits is favored. See Wal-Mart Stores v. Visa

U.S.A., 396 F.3d 96, 116 (2d Cir. 2005) (affirming approval of class action settlement and

emphasizing the “strong judicial policy in favor of settlements, particularly in the class action


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context”) (quotation omitted); see also Herbert B. Newberg & Alba Conte, Newberg on Class

Actions (“Newberg”), § 11.41 (4th ed. 2002) (“The compromise of complex litigation is

encouraged by the courts and favored by public policy.”); In re Nissan Motor Corp. Antitrust Litig.,

552 F.2d 1088, 1105 (5th Cir. 1977) (“Settlement agreements are highly favored in the law and

will be upheld whenever possible because they are a means of amicably resolving doubts and

uncertainties and preventing lawsuits.”). “The central question raised by the proposed settlement

of a class action is whether the compromise is fair, reasonable and adequate. There are weighty

justifications, such as the reduction of litigation and related expenses, for the general policy

favoring the settlement of litigation.” Weinberger v. Kendrick, 698 F.2d 61, 73 (2d Cir. 1982)

(affirming approval of class settlement; citation omitted).

       The first step in a class action settlement is preliminary approval, “through which the

district court determines the fairness of a proposed class action settlement, prior to the provision

of class notice.” Vazquez v. Lamont Fruit Farm, Inc., No. 06-582S, 2011 WL 6148806, at *2

(W.D.N.Y. Dec. 12, 2011) (granting preliminary approval). “A proposed settlement should be

approved if the court determines that the settlement, taken as a whole, is fair, reasonable, and

adequate. The court must give proper deference to the private consensual decision of the parties

in exercising its discretion.” Chambery v. Tuxedo Junction Inc., 10 F. Supp. 3d 415, 419

(W.D.N.Y. 2014) (granting preliminary approval; citations omitted). Moreover, “[a] presumption

of fairness, adequacy, and reasonableness may attach to a class settlement reached in arm’s-length

negotiations between experienced, capable counsel after meaningful discovery.” Wal-Mart Stores,

Inc., 396 F.3d at 116 (quoting Manual for Complex Litigation (Third) § 30.42 (1995)). Therefore,

“[a] proposed settlement of a class action should . . . be preliminarily approved where it ‘appears

to be the product of serious, informed, non-collusive negotiations, has no obvious deficiencies,



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does not improperly grant preferential treatment to class representatives or segments of the class

and falls within the range of possible approval.’” Davis v. J.P. Morgan Chase & Co., 775 F. Supp.

2d 601, 607 (W.D.N.Y.2011) (granting preliminary approval; quoting In re Nasdaq Market–

Makers Antitrust Litig., 176 F.R.D. 99, 102 (S.D.N.Y.1997) (granting preliminary approval)). See

also Danieli v. IBM, No. 08-3688, 2009 WL 6583144, at *4-5 (S.D.N.Y. Nov. 16, 2009) (granting

preliminary approval where settlement “has no obvious defects” and proposed allocation plan is

“rationally related to the relative strengths and weaknesses of the respective claims asserted.”).

       C.      The Court Should Grant Preliminary
               Approval Of The Settlement Agreement.

       The Second Circuit has identified nine factors, the “Grinnell factors,” that should be

considered in determining the fairness of a proposed settlement:

       (1) the complexity, expense and likely duration of the litigation; (2) the reaction of
       the class to the settlement; (3) the stage of the proceedings and the amount of
       discovery completed; (4) the risks of establishing liability; (5) the risks of
       establishing damages; (6) the risks of maintaining the class action through the trial;
       (7) the ability of the defendants to withstand a greater judgment; (8) the range of
       reasonableness of the settlement fund in light of the best possible recovery; (9) the
       range of reasonableness of the settlement fund to a possible recovery in light of all
       the attendant risks of litigation.

City of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974) (citations omitted); see also

County of Suffolk v. Long Island Lighting Co. (“LILCO”), 907 F.2d 1295, 1323-24 (2d Cir. 1990).

       The recent adoption of Rule 23(e)(2) does not displace the Grinnell factors. See Fed. R.

Civ. P. 23(e)(2) advisory committee’s note. Rather, it “focus[es] the court and the lawyers on the

core concerns of procedure and substance that should guide the decision whether to approve the

proposal.” Id. These “core concerns” are:

               (A) the class representatives and class counsel have adequately
                  represented the class;

               (B) the proposal was negotiated at arm’s length;


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               (C) the relief provided for the class is adequate, taking into
                   account:

                   (i) the costs, risks, and delay of trial and appeal;

                   (ii) the effectiveness of any proposed method of distributing
                   relief to the class, including the method of processing class-
                   member claims, if required;

                   (iii) the terms of any proposed award of attorney’s fees,
                   including timing of payment; and

                   (iv) any agreement required to be identified under Rule
                   23(e)(3); and

               (D) the proposal treats class members equitably relative to each
                  other.

       The adequacy of the Class Representative and Class Counsel’s representation of the Class

is described infra at § IV-D-1-d. The arms-length nature of the negotiations, which culminated in

mediation before Judge Payson, is described supra at § II-B-6. The adequacy and equitability of

the relief provided for the class is examined in detail through the analysis of the Grinnell factors

immediately below. A consideration of Grinnell factors and Rule 23(e)(2)’s “core concerns”

indicate that the Settlement Agreement is fair, reasonable, and adequate, and therefore, should be

approved.

       “In finding that a settlement is fair, not every [Grinnell]factor must weigh in favor of

settlement, ‘rather the court should consider the totality of these factors in light of the particular

circumstances.’” In re Global Crossing Sec. & ERISA Litig., 225 F.R.D. 436, 456 (S.D.N.Y. 2004)

(approving settlement; quoting Thompson v. Metropolitan Life Ins. Co., 216 F.R.D. 55, 61

(S.D.N.Y.2003) (approving settlement)). Here, however, all of the relevant factors weigh in favor

of granting preliminary approval to the Settlement Agreement.




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                 1.       The Litigation Is Complex And Will Be Expensive And Lengthy.

        The Settlement Agreement provides substantial monetary benefits to the Settlement Class

while avoiding the significant expenses and delays attendant to motion practice related to summary

judgment and class certification, not to mention trial. Indeed, “[m]ost class actions are inherently

complex and settlement avoids the costs, delays and multitude of other problems associated with

them.” Frank v. Eastman Kodak Co., 228 F.R.D. 174, 184-85 (W.D.N.Y. 2005) (approving

settlement; quoting In re Austrian & German Bank Holocaust Litig., 80 F. Supp. 2d 164, 174

(S.D.N.Y. 2000)). While Plaintiff is confident that she will prevail on Rule 23 class certification,

on summary judgment, and at trial, such results is not certain. Moreover, the resulting fact-

intensive trial will require the Court’s time and resources. Such proceedings will also result in

significant expenses to the Parties, potentially further reducing Defendants’ ability to withstand

any judgment, even if one was ultimately entered against them. See infra § IV-C-5. Any judgment

will likely be appealed, as Defendants have already demonstrated their willingness to do so in the

related Spano matter (No. 16-6419, ECF No. 58 (W.D.N.Y. Sept. 28, 2017)), extending the costs

and duration of the litigation. The Settlement Agreement, on the other hand, will result in the

prompt commencement of equitable payments to the Settlement Class. Thus, this factor weighs

in favor of settlement.

                 2.       The Reaction Of The Class Will Likely Be Positive.

        While the reaction of absent class members cannot be conclusively gauged until notice has

been sent, the fact that Plaintiff and her experienced counsel support the Settlement Agreement is a

strong indication that members of the Settlement Class will also view it positively. In addition, those

class members who have been in touch with Plaintiff’s Counsel have expressed approval. Frei-Pearson

Decl. at ¶ 26.



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               3.      The Progress Of The Instant Litigation And The Extensive
                       Discovery That Has Occurred Favors Preliminary Approval.

       The legal issues in this case have been thoroughly vetted through the Parties’ extensive

motion practice in both the instant litigation and the related Spano action, as described in detail

supra § II-B. This included contested motion practice with full briefings on the motion to dismiss

V&J’s counterclaim in the Spano matter, V&J’s motion to compel arbitration in that case,

Plaintiff’s motion for conditional certification of an FLSA collective in this case, Defendants’

motion for judgment on the pleadings, Plaintiff’s motion for equitable tolling, Plaintiff’s request

for a temporary restraining order, preliminary injunction, and sanctions, Plaintiff’s motion for

appointment of FBFG as interim lead counsel, Plaintiff’s motion to compel production of

documents and for sanctions, and Defendants’ motion for a protective order. Discovery has

included interrogatories, requests for production of documents, and multiple depositions, as well

as numerous meet and confer efforts over the sufficiency of documents and deposition testimony

and the above-mentioned cross-motions to compel production and for a protective order.

       Thus, the extent of the motion practice and discovery in this case merits preliminary

approval of the proposed settlement. See In re Currency Conversion Fee Antitrust Litig., No. 01

MDL 1409, 2006 WL 3247396, at *5 (S.D.N.Y. Nov. 8, 2006) (granting preliminary approval

where “[t]he parties have developed a familiarity with the details of the case by conducting

significant discovery and engaging in motion practice . . .”); see also In re Austrian & German

Bank Holocaust Litig., 80 F. Supp. 2d 164, 176 (S.D.N.Y. 2000) (“‘To approve a proposed

settlement, the Court need not find that the parties have engaged in extensive discovery . . . it is

enough for the parties to have engaged in sufficient investigation of the facts to enable the Court

to intelligently make . . . an appraisal of the Settlement.’ Additionally, ‘the pretrial negotiations

and discovery must be sufficiently adversarial that they are not designed to justify a settlement . .


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. [but] an aggressive effort to ferret out facts helpful to the prosecution of the suit.’”) (citing

Plummer v. Chemical Bank, 668 F.2d 654 (2d Cir. 1982); quoting Martens v. Smith Barney, Inc.,

181 F.R.D. 243, 263 (S.D.N.Y. 1998)).

                4.      Plaintiff Faces Hurdles In Establishing Liability,
                        Proving Damages, And Maintaining A Class Through Trial.

        The Settlement Agreement should be preliminarily approved because Plaintiff faces

notable hurdles in establishing liability, proving damages, and maintain a class action through trial.

Indeed, “[l]itigation inherently involves risks.” In re PaineWebber Ltd. Partnerships Litig., 171

F.R.D. 104, 126 (S.D.N.Y. 1997) (approving settlement). In particular, Defendants will almost

certainly again move to strike all named Defendants except V&J Employment Services, Inc.,

and/or move for summary judgment as to all such Defendants’ liability. Defendants will also likely

move to decertify the conditionally certified FLSA collective. While Plaintiffs will likely argue

that Defendants have waived all arbitration defenses due to their non-participation in 50 arbitration

actions before the AAA, Defendants will likely argue there has been no global waiver and will

seek to use the existence of arbitration agreements to attack the commonality and typicality of the

claims at issue among putative class and collective members. Defendants will also likely argue

that its reimbursement methodology is sufficient to reimburse drivers’ expenses, thus disputing

liability and damages, and argue that differences in actual expenses among different drivers and

differences in their wages undermine commonality.

        Plaintiff’s counsel is confident in its ability to prove Plaintiff’s case. Nonetheless, the

Settlement Agreement avoids the risks inherent in further litigation, and therefore this factor weighs in

favor of preliminary approval.




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                5.      There Are Concerns Regarding
                        Defendants’ Ability To Pay A Judgment.

        Plaintiff’s concerns over Defendants’ ability to sustain a judgment greater than the

amount embodied in the Settlement Agreement was one of the primary factors in reaching the

terms of the Settlement. Frei-Pearson Decl. ¶ 24. Indeed, verification of V&J’s financial

situation – specifically whether Defendants have ready access to sufficient funds to promptly pay

at least three times the Maximum Settlement Amount without suffering significant financial

hardship -- is a key term of the Settlement Agreement. Frei-Pearson Decl. Exhibit A, ¶ 33.

Where defendants are unable to pay awards substantially greater than the settlement amount,

Courts have approved settlements worth substantially less than the total liability. See, e.g.,

Bellaspica v. PJPA LLC, No. 13-3014, ECF No. 140 (E.D. Pa. Apr. 1, 2016) (granting

preliminary approval of $300,000.00 settlement to cover FLSA and Pennsylvania state minimum

wage law claims of class of 494 pizza delivery drivers following determination that defendant

could not sustain a higher judgment). Should the verification of Defendants’ finances reveal that

their ability to pay is not a significant issue, Plaintiff is entitled, and intends, to void the

Settlement and pursue greater relief for the Class. Frei-Pearson Decl. ¶ 24. As such, this factor

counsels in favor of approving the Settlement.

                6.      The Settlement Amounts Are Reasonable
                        In Light Of The Best Possible Recovery And
                        In Light Of All The Attendant Risks Of Litigation.

        Class members’ recovery merits approval of the proposed settlement, particularly in light

of Defendants’ defenses, the time and uncertainty involved in continued class litigation and

inevitable appeals, and concerns surrounding Defendants’ ultimate ability to pay a greater

judgment.




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       “The determination whether a settlement is reasonable does not involve the use of a

mathematical equation yielding a particularized sum.” Frank v. Eastman Kodak Co., 228 F.R.D.

174, 186 (W.D.N.Y. 2005) (approving settlement; citation omitted). Instead, “there is a range of

reasonableness with respect to a settlement -- a range which recognizes the uncertainties of law

and fact in any particular case and the concomitant risks and costs necessarily inherent in taking

any litigation to completion.” Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972) (approving

settlement for $5 million where potential liability was $35 million). Even where a settlement is

for substantially less than the maximum potential recovery, approval may be appropriate. See

Grinnell Corp., 495 F.2d at 455 n.2 (“[T]here is no reason, at least in theory, why a satisfactory

settlement could not amount to a hundredth or even an thousandth part of a single percent of the

potential recovery.”); see also Cagan v. Anchor Sav. Bank FSB, No. 88-3024, 1990 WL 73423, at

*12 (E.D.N.Y. May 22, 1990) (approving $2.3 million class settlement where maximum potential

recovery was approximately $121 million); Chambery v. Tuxedo Junction, Inc., 2014 WL

3725157, at *7 (W.D.N.Y July 25, 2014) (“[A] $200,000 settlement is reasonable where the

potential recovery is $3 million, especially when taking into consideration Defendant’s financial

position and the risks of litigation.”); Morris v. Affinity Health Plan, Inc., 859 F. Supp. 2d 611,

621 (S.D.N.Y. 2012) (approving settlement of $2.5 million over objection that best possible

recovery was $125 million).

       Based on the data obtained in discovery, Plaintiff calculates a maximum recovery for the

class of approximately $14,818,043.00. Frei-Pearson Decl. ¶ 22. On the other hand, Defendant

could prevail on its legal arguments to defeat liability entirely, resulting in no recovery for class

members. In light of concerns over Defendants’ ability to pay, Plaintiff does not believe actual

recovery of the full amount is likely, even if she were to prevail on all counts. Given this broad



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range of possible damages, the Settlement Agreement falls well within the range that courts have

traditionally found to be fair and adequate under the law.

        Moreover, the fact that the Settlement Agreement provides for the prompt initiation of

payments to claimants favors approval of the settlement. See Teachers’ Ret. Sys. of Louisiana v.

A.C.L.N., Ltd., No. 01-11814, 2004 WL 1087261, at *5 (S.D.N.Y. May 14, 2004) (“[T]he proposed

Settlement provides for payment to Class members now, not some speculative payment of a

hypothetically larger amount years down the road. Given the obstacles and uncertainties attendant

to this complex litigation, the proposed Settlement is within the range of reasonableness, and is

unquestionably better than the other likely possibility – little or no recovery.”) (citing In re “Agent

Orange” Prod. Liab. Litig., 611 F. Supp. 1396, 1405 (E.D.N.Y. 1985) (“[M]uch of the value of a

settlement lies in the ability to make funds available promptly.”) (modified on other grounds)).

Therefore, these factors militate in favor of approving the Settlement Agreement.

        The relief provided to each Class member is equitably distributed according to the same

formula: dividing each individual’s total work seeks by the total work weeks of class and

multiplying that result by the Net Settlement Amount. This approach thus fairly distributes the

Settlement’s payments among class members based on their work for Defendants and the alleged

minimum wage violations they suffered. See, e.g., Bellaspica, No. 13-3014, ECF No. 140

(approving settlement of delivery under-reimbursement claims based on a per-work-week

distribution).

                 7.    There Are No Agreements To Identify Pursuant To Rule 23(e)(3).

        Parties seeking the approval of a settlement are required to identify any agreement made in

connection with the proposed settlement. See Fed. R. Civ. P. 23(e)(2)(C)(iii) and 23(e)(3). There are

no such agreements requiring identification.



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       D.      The Court Should Conditionally Certify The Class.

       “A Court should grant conditional certification of a class for settlement purposes where the

proposed class and class representative satisfy the four requirements of Federal Rule of Civil

Procedure 23(a) -- numerosity, commonality, typicality, and adequacy—as well as one of the three

subsections of Rule 23(b). In deciding certification, ‘courts must take a liberal rather than

restrictive approach in determining whether the plaintiff satisfies these requirements and may

exercise broad discretion in weighing the propriety of a putative class.’” Chambery v. Tuxedo

Junction Inc., 10 F. Supp. 3d 415, 420 (W.D.N.Y. 2014) (quoting Cohen v. J.P. Morgan Chase &

Co., 262 F.R.D. 153, 157-58 (E.D.N.Y. 2009)).

       Plaintiff seeks the conditional certification of the following Rule 23 class for purposes of

effectuating the settlement:

               All persons Defendants employed in New York as a delivery driver
               during any workweek from June 21, 2010 to the present.

       Because all of the certification requirements for settlement purposes are met and

Defendants consent to conditional certification of a class action, Plaintiff respectfully requests that

the Court conditionally certify the Settlement Class.

               1.      The Settlement Class Satisfies Rule 23(a).

       There are five Rule 23(a) requirements (numerosity, commonality, typicality, adequacy

and ascertainability), all of which the Settlement Class satisfies.

                       a.      The Class Is So Numerous That
                               Joinder Of All Members Is Impracticable.

       The class is comprised of more than 300 delivery drivers, rendering joinder clearly

impracticable. See Consol. Rail Corp. v. Town of Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995)

(“[N]umerosity is presumed at a level of 40 members.”) (citation omitted); Davis v. J.P. Morgan



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Chase & Co., 775 F. Supp. 2d 601, 608 (W.D.N.Y. 2011) (granting preliminary approval of class

of “over 5000 persons who were allegedly affected by defendant’s policies.”)

                       b.      There Are Questions Of Law Or Fact Common To The Class.

       Rule 23(a)(2) provides that there must be “questions of law or fact common to the class”

for a suit to be certified as a class action. Fed. R. Civ. P. 23(a)(2). “The purpose of this requirement

is to test ‘whether the named plaintiff’s claim and the class claims are so interrelated that the

interests of the class members will be fairly and adequately protected in their absence.’” Eastman

Kodak, 228 F.R.D. at 181 (citing General Tel. Co. of Southwest v. Falcon, 457 U.S. 147, 157 n.

13 (1982). Plaintiff need not demonstrate that each class members’ claim is identical; rather, there

need only exist “common questions of fact or law.” Id. (citing Port Authority Police Benev. Ass’n,

Inc. v. Port Authority of New York and New Jersey, 698 F.2d 150, 153-54 (2d Cir. 1983)). “Courts

have generally construed the commonality requirement liberally and require that only one issue be

common to all class members.” Id. (citing Trief v. Dun & Bradstreet Corp., 144 F.R.D. 193, 198-

99 (S.D.N.Y. 1992)).

       Here, members of the Settlement Class were all subject to a uniform reimbursements policy

that Plaintiff alleges pushed their wages below the legal minimum. Numerous courts have certified

substantively identical classes of delivery drivers. See, e.g., Perrin v. Papa John’s Int’l. Inc., No.

09-1135, 2013 WL 6885334 (E.D. Mo. Dec. 31, 2013) (certifying Rule 23 state classes of delivery

drivers in under-reimbursement case over contested motion); Fata v. Pizza Hut of Am., Inc., No.

14-376, 2016 WL 7130932 (M.D. Fl. Oct. 31, 2016) (certifying Rule 23 state law class of delivery

drivers for settlement purposes in under-reimbursement class action).

                       c.      Plaintiff’s Claims Are Typical Of The Claims Of The Class.

       Rule 23(a)(3) provides that the claims of the Plaintiff must be “typical of the claims of . . .

the class.” Fed. R. Civ. P. 23(a)(3). “The typicality requirement ensures that maintenance of a

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class action is economical and that the named plaintiff’s claim and the class claims are so

interrelated that the interest of the class members will be fairly and adequately protected in their

absence.” Chambery v. Tuxedo Junction Inc., 10 F. Supp. 3d 415, 421 (W.D.N.Y. 2014) (granting

preliminary approval where “the proposed named Plaintiffs’ claims for unpaid wages arise from

the same factual and legal circumstances that form the basis of the class members’ claims.”)

(citation omitted). Rule 23(a)(3) is satisfied “when each class member’s claim arises from the

same course of events and each class member makes similar legal arguments to prove the

defendant’s liability.” Robidoux v. Celani, 987 F.2d 931, 936 (2d Cir. 1993) (reversing denial of

class certification; citation omitted). “When the same ‘unlawful conduct was directed at both the

named plaintiff and the class to be represented, the typicality requirement is usually met

irrespective of varying fact patterns which underlie individual claims.’” D’Alauro v. GC Services

Ltd. P’ship, 168 F.R.D. 451, 456-57 (E.D.N.Y. 1996) (approving settlement and citing Newberg

§ 3.13 and Dura–Bilt Corp. v. Chase Manhattan Corp., 89 F.R.D. 87, 99 (S.D.N.Y. 1981)).

        Here, the claims of the Plaintiff and those of the members of the Settlement Class arise

from the same conduct, namely Defendants’ failure to fully reimburse them for the vehicle-related

expenses they incurred, thus pushing their effective wages below the minimum required under the

NYLL.

                       d.      Plaintiff Will Fairly And
                               Adequately Protect The Interests Of The Class.

        Rule 23(a)(4) requires that “the representative parties fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). To determine adequacy, the Court must inquire

as to whether “(1) the representative plaintiffs attorneys [are] qualified, experienced, and

generally able to conduct the litigation, and (2) the plaintiff’s interests must not be antagonistic

to those of the remainder of the class.” Chambery v. Tuxedo Junction Inc., 10 F. Supp. 3d 415,


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421 (W.D.N.Y. 2014) (citation omitted). This Court previously appointed FBFG as class

counsel (ECF No. 147) and Plaintiff respectfully submits that that Jeremiah Frei-Pearson and

Andrew C. White of FBFG are sufficiently qualified, experienced, and able to conduct this

litigation. See Frei-Pearson Decl. at ¶¶ 27-31, Exhibit E (FBFG Firm Resume).

       Moreover, there is no indication that Plaintiff has any interests antagonistic to the

Settlement Class. To the contrary, Ms. Beebe has been actively protecting the interests of the

class. She engaged in the prosecution of this matter since its inception, having consistently

conferred with her counsel, reviewed the complaint, reviewed and signed discovery responses,

rejected a substantial individual settlement offer because accepting would have set back other

class members’ efforts at relief, participated in a day-long mediation, and consulted with her

counsel regarding the propriety of the settlement. Frei-Pearson Decl. ¶ 32.

                       e.      Class Members Are Readily Identifiable And Ascertainable.

       Rule 23 also contains an “implicit requirement” that the class be ascertainable. See

Lizondro-Garcia v. Kefi LLC, 300 F.R.D. 169, 176 (S.D.N.Y. 2014) (granting preliminary

approval). The Settlement Class is imminently ascertainable; in fact, using V&J’s employment

records and delivery data, the Parties can directly identify all members of the Settlement Class.

Therefore, the Class is ascertainable. C.f., Lizondro-Garcia v. Kefi LLC, 300 F.R.D. 169, 176

(S.D.N.Y. 2014) (“In this case, defendants’ payroll records will likely contain the names, titles,

pay rates and dates of employment of the NYLL class members.”).

               2.      The Settlement Class Satisfies Rule 23(b)(3).

       Rule 23(b)(3) provides that questions of law or fact common to class members must

“predominate over any questions affecting only individual members.” Fed. R. Civ. P. 23(b)(3).

In addition, Plaintiff must demonstrate that “[a] class action is superior to other methods for



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fairly and efficiently adjudicating the controversy.” Id. The proposed Settlement Class meets

both of these requirements.

                       a.      Common Questions Predominate Over Individual Issues.

       “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are sufficiently

cohesive to warrant adjudication by representation.” Amchem Products, Inc. v. Windsor, 521

U.S. 591, 623 (1997). Predominance thus requires that “the issues in the class action that are

subject to generalized proof, and thus applicable to the class as a whole . . . predominate over

those issues that are subject only to individualized proof.” In re Visa Check/MasterMoney

Antitrust Litig., 280 F.3d 124, 136 (2d Cir. 2001) (abrogated on other grounds). Here, every

issue involved in the litigation is subject to common and generalized proof, to wit, the IRS

reimbursement rates for the relevant years, V&J’s computerized records containing the addresses

to which its delivery drivers drove, and thus the mileage over which they incurred vehicle-related

expenses, and the employment records containing the wages and reimbursements V&J paid these

drivers for each work day. In addition, the Settlement Class handily satisfies Rule 23(a)’s

requirements, which “goes a long way toward satisfying the Rule 23(b)(3) requirement of

commonality.” Rossini v. Ogilvy & Mather, Inc., 798 F.2d 590, 598 (2d Cir. 1986) (citation

omitted).

                       b.      A Class Action Is A Fair And Efficient
                               Method For Adjudicating This Controversy.

       Rule 23(b)(3) also requires a determination as to whether a class action is the superior

means to adjudicate the class’ claims. The rule sets forth a list of relevant factors: class

members’ interest in bringing individual actions; the extent of existing litigation by class

members; the desirability of concentrating the litigation in one forum; and potential issues with

managing a class action. Fed. R. Civ. P. 23(b)(3)(A-D). Plaintiff’s counsel is unaware of any


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active individual actions relating to this controversy, a strong indication that class members lack

an interest in bringing individual claims. This is not surprising, as the amounts in controversy in

any such individual actions, while significant to delivery drivers, would nonetheless be dwarfed

by the expense of bringing such an action. It is well settled that a class action is the superior

method of adjudication where “the proposed class members are sufficiently numerous and seem

to possess relatively small claims unworthy of individual adjudication due to the amount at issue

. . . [and] there is reason to believe that class members may lack familiarity with the legal system,

discouraging them from pursuing individual claims.” Jankowski v. Castaldi, No. 01-0164, 2006

WL 118973, at *4 (E.D.N.Y. Jan. 13, 2006). Certification of the Settlement Class will allow for

efficient adjudication of claims that would likely not be brought owing to prohibitive legal

expenses, while at the same time preserving scarce judicial resources. Therefore, a class action

is a superior method of adjudicating this case.

       E.      Plaintiff’s Counsel Should Be Appointed As Class Counsel.

       This Court has already appointed FBFG as interim lead counsel, following a contested

motion. ECF No. 147. For the same reasons this Court found FBFG well-suited to the role of

interim lead counsel, FBFG should be appointed as class counsel for the Settlement Class. Rule

23(g) enumerates four factors for evaluating the adequacy of proposed counsel:

               (1) the work counsel has done in identifying or investigating
               potential claims in the action; (2) counsel’s experience in handling
               class actions, other complex litigation, and types of claims of the
               type asserted in the action; (3) counsel’s knowledge of the
               applicable law; and (4) the resources counsel will commit to
               representing the class.




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Fed. R. Civ. P. 23(g)(1)(C)(i).10 All of these factors militate in favor of appointing FBFG as

class counsel. FBFG has identified, investigated, and vetted the claims at issue in this case, and

has done so in multiple similar actions addressing the under-reimbursement of delivery drivers.

FBFG also has extensive experience in class actions, as demonstrated by the numerous times the

firm has been appointed class counsel. Frei-Pearson Decl. ¶ 27-31, Exhibit E. Finally, FBFG

has more than sufficient resources to represent the class. Frei-Pearson Decl. ¶ 31. Therefore,

Plaintiff respectfully asks that this Court appoint her counsel as counsel for the class.

        F.     The Proposed Class Notice Is Appropriate.

        Rule 23(c)(2)(B) requires that class members receive “the best notice that is practicable

under the circumstances, including individual notice to all members who can be identified

through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). The Rule also requires that any such

notice clearly and concisely state in plain, easily understood language: the nature of the action;

the definition of the class certified; the class claims, issues, or defenses; that a class member may

enter an appearance through an attorney if the member so desires; that the court will exclude

from the class any member who requests exclusion; the time and manner for requesting

exclusion; and the binding effect of a class judgment on class members under Rule 23(c)(3).

Fed. R. Civ. P. 23(b)(2)(B).

        Plaintiff proposes to provide direct mailed notice to members of the Settlement Class in a

form substantially similar to the notice attached as Exhibit B to the Settlement Agreement

(Blankinship Dec. Ex. 1) (the “Short Form Notice”), which is the best notice practicable in the

circumstances. See Berland v. Mack, 48 F.R.D. 121, 129 (S.D.N.Y. 1969) (“Where members of


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    See also deMunecas v. Bold Food, LLC, No. 09-00440, 2010 WL 2399345, at *3 (S.D.N.Y.
Apr. 19, 2010) (“The work that [Plaintiff’ counsel] has performed both in litigating and settling
this case demonstrates their commitment to the class and to representing the class’s interests.”).

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the class are readily identifiable and personal notice would not be so prohibitively expensive as

to prevent the class action from being prosecuted, individual notices by first class mail would in

most cases be the ‘best notice practicable.’”); Jermyn v. Best Buy Stores, L.P., No. 08-00214,

2010 WL 5187746, at *2 (S.D.N.Y. Dec. 6, 2010) (“[W]here the names and addresses of class

members may be ascertained through reasonable efforts, individual notice must be sent.”).

        As contemplated in the Settlement Agreement, Defendants will, based on their

employment records, provide to a Settlement Administrator information on all Settlement Class

Members. Subject to the Court’s approval, the Parties will also provide the Settlement

Administrator with the Notice attached as Exhibit B to the Frei-Pearson Decl. for distribution to

all Settlement Class members. That notice provides all of the information required under Rule

23(b)(2)(B), and it “fairly apprise[s] the prospective members of the class of the pendency of the

class action, the terms of the proposed settlement, and the options that are open to them in

connection with the proceedings, including the option to withdraw from the settlement.” Reade-

Alvarez v. Eltman, Eltman & Cooper, P.C., 237 F.R.D. 26, 34 (E.D.N.Y. 2006). The Summary

Notice also directs class members to an Internet website where they can find further information,

including the Class Notice. The Reminder Notice, attached as Exhibit C to the Frei-Pearson

Decl. likewise provides Class Members with all information required under the Federal Rules

and appraises them of their options and the consequences for each. Therefore, Plaintiff

respectfully requests that the Court approve the forms of notice attached as Exhibits B and C to

the Frei-Pearson Decl.

V.      CONCLUSION

        For the reasons set forth above, Plaintiff respectfully requests that the Court preliminarily

approve the settlement, conditionally certify the settlement class, appoint Plaintiff’s Counsel as

Class Counsel, approve the Settlement Class Notice, and schedule a fairness hearing.
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Dated: November 27, 2019                 Respectfully submitted,


                                         /s/ Jeremiah Frei-Pearson
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